 

Case: 3:19-cv-50314 Document #: 1 Filed: 11/25/19 Page 1 of 5 PagelD #:1

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UNITED STATES DISTRICT COURT : EB Dp

FOR THE NORTHERN DISTRICT OF ILLI 1
EASTERN DIVISION

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C acts vA Sypthf g BRT Court
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Plaintiff(s),
vs. CaseNo. (9-50 314

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endant(s).

COMPLAINT FOR VIOLATION OF CONSTITUTIONAL RIGHTS

This form complaint is designed to help you, as a pro se plaintiff, state your case in a clear
manner. Please read the directions and the numbered paragraphs carefully, Some paragraphs
may not apply to you. You may cross out paragraphs that do not apply to you. All references
to “plaintiff” and “defendant” are stated in the singular but will apply to more than one
plaintiff or defendant if that is the nature of the case.

l. This is a claim for violation of plaintiff's civil rights as protected by the Constitution and
laws of the United States under 42 U.S.C. §§ 1983, 1985, and 1986.

2. The court has jurisdiction under 28 U.S.C. §§ 1343 and 1367.

3, Plaintiff's full name is Lawton Vath leon Sueth

If there are additional plaintiffs, fill in the above information as to the first-named plaintiff
and complete the information for each additional plaintiff on an extra sheet.

 

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4, Defendant, An Known steep CF “S _is

(name, badge nuk known) 7

 

Ci an officer or official employed by } Yj [ :

(department or agencyfof government)

Me, In _oude- ot AIO or

C] an individual not employed by a governmental entity.

If there are additional defendants, fill in the above information as to the first-named
defendant and complete the information for each additional defendant on an extra sheet. )

 

5. The municipality, township or county under whose authority defendant officer or official
acted is \af wane taacy O . As to plaintiff's federal

constitutional claims, the municipality, township or county is a defendant only if

custom or policy allegations are made at paragraph 7 below.

6. On or about , at approximately Olam. O p.m.
(month,day, year} .
plaintiff was present in the municipality (or unincorporated area) of a v k f yt

, , in the County of \ las idé 2h Oo,

State of Ilinois, at =) 200 Woo to :

{identify location as precisely as possible)

when defendant violated plaintiff's civil rights as follows (Place X in each box that
applies):

a, arrested or seized plaintiff without probable cause to believe that plaintiff had
committed, was committing or was about to commit a crime;

searched plaintiff or his property without a warrant and without reasonable cause;
used excessive force upon plaintiff;

failed to intervene to protect plaintiff from violation of plaintiff's civil rights by
one or more other defendants;

failed to provide plaintiff with needed medical care;

conspired together to violate one or more of plaintiff's civil rights;

Other:

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7. Defendant officer or official acted pursuant to a custom or policy of defendant

municipality, county or township, which custom or policy is the following: (Leave blank

if no custom or policy is alleged):

 

 

 

 

8. Plaintiff was charged with one or more crimes, specifically:

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9. (Place an X in the box that applies. If none applies, you may describe the criminal

proceedings under “Other”) The criminal proceedings
C1 are still pending.
x were terminated in favor of plaintiff in a manner indicating plaintiff was innocent.'

Plaintiff was found guilty of one or more charges because defendant deprived me of a

fair trial as follows My CW CAipts

 

CO Other:

 

 

‘Examples of termination in favor of the plaintiff in a manner indicating plaintiff was innocent
may include a judgment of not guilty, reversal of a conviction on direct appeal, expungement of the
conviction, a voluntary dismissal (SOL) by the prosecutor, or a nolle prosegui order.

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10, _—~ Plaintiff further alleges as follows: (Describe what happened that you believe
supports your claims, To the extent possible, be specific as to pour own actions and
the actions of each defendant.)

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1. Detain acted a, tentoaly willfully and neously.
12. Agaresult of defendant’s conduct, plaintiff was injured as follows:
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Gad the sumer 7) precises Chi Wren

   
 

 

13.‘ Plaintiff vb that the case be tried DY ajury. (1 Yes No

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14. Plaintiff also claims violation of rights that may be protected by the laws of Illinois, such
| a 1 . . 7 .
as false arrest, assault, battery, false imprisonment, malicious prosecution, conspiracy,

and/or any other claim that may be supported by the allegations of this complaint.

WHEREFORE, plaintiff asks for the following relief:

A. Damages to compensate for all bodily harm, emotional harm, pain and suffering,
loss of income, loss of enjoyment of life, property damage and any other injuries
inflicted by defendant;

B. O (Place X in box if you are seeking punitive damages.) Punitive damages
against the individual defendant; and

C. Such injunctive, declaratory, or other relief as may be appropriate, including

ses ag authorized by 42 U.S.C. § 1988.

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Plaintiff's name plik, chant or type): Cam Ona Sand t

Plaintiff's mailing address: 3 74S + | ti n A UL ADF | oO)

City Vetted State | L nl (nllos

Plaintiff’s telephone number: bbb UD S7 YTS CO

Plaintiff's email address (if-yoeu prefer to be contacted by email):

Votona .Snujth 1g maosl Cort

15, Plaintiff has previously filed a case in this district. D1 Yes ce

if yes, please list the cases below.

attomey’s fees and reasonable ex

  
 
 

Plaintiff's signature:

 

Any additional plaintiffs must sign the complaint and provide the same information as the first
Plaintiff, An additional signature page may be added.

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